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                       “I kicked the hard way. I got incarcerated.” Withdrawal from
                       methadone during incarceration and subsequent aversion to
                       medication assisted treatments
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                       Abstract
                            Incarceration is a common experience for individuals with opioid use disorder, including those
                            receiving medication assisted treatments (MAT), such as buprenorphine or methadone. In the
                            United States, MAT is rarely available during incarceration. We were interested in whether
                            challenges with methadone maintenance treatment during incarceration affected subsequent
                            attitudes toward MAT following release. We conducted semi-structured interviews with 21
                            formerly incarcerated individuals with opioid use disorder in community substance abuse
                            treatment settings. Interviews were audio recorded, transcribed, and analyzed using a grounded
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                            theory approach. Themes that emerged upon iterative readings of transcripts were discussed by the
                            research team. The three main themes relating to methadone were: 1) rapid dose reduction during
                            incarceration; 2) discontinuity of methadone during incarceration; and 3) post incarceration
                            aversion to methadone. Participants who received methadone maintenance treatment prior to
                            incarceration reported severe and prolonged withdrawal symptoms from rapid dose reductions or
                            disruption of their methadone treatment during incarceration. The severe withdrawal during
                            incarceration contributed to a subsequent aversion to methadone and adversely affected future
                            decisions regarding reengagement in MAT. Though MAT is the most efficacious treatment for
                            opioid use disorder, current penal policy, which typically requires cessation of MAT during
                            incarceration, may dissuade individuals with opioid use disorder from considering and engaging in
                            MAT after release from incarceration.
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                       Keywords
                            Opioid use disorder; methadone maintenance treatment; buprenorphine maintenance treatment;
                            incarceration; opioid withdrawal syndrome


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                        1. Introduction
                                        The consequences of opioid use disorder are wide ranging, and include increased risk of
                                        overdose, overdose related death, transmission of HIV or Hepatitis C Virus, and contact with
                                        the criminal justice system (Boutwell, Nijhawan, Zaller, & Rich, 2007; Degenhardt et al.,
                                        2011; Kinlock et al., 2007; Reimer et al., 2011) . These consequences adversely impact both
                                        individual well- being and community health. In 2013, more than 2 million Americans met
                                        criteria for opioid use disorder, including 1.9 million endorsing opioid analgesic abuse or
                                        dependence and 517,000 endorsing heroin abuse or dependence (Substance Abuse and
                                        Mental Health Services Administration, 2014). Medication assisted treatments (MAT) for
                                        opioid use disorders, including maintenance treatment with methadone or buprenorphineare
                                        effective at reducing illicit opioid use, HIV risk behaviors, and overall mortality, and may
                                        reduce criminal recidivism rates (Marsch, 1998;Mattick, Breen, Kimber, & Davoli, 2014;
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                                        Woody et al., 2014). Despite the strong evidence base supporting its use, MAT remains
                                        underutilized in community settings, as well as within penal facilities, such as jails and
                                        prisons (Chandler, Fletcher, & Volkow, 2009; Fiscella, Moore, Engerman, & Meldrum,
                                        2004; Kinlock, Gordon, Schwartz, & Fitzgerald, 2010; Larney, Toson, Burns, & Dolan,
                                        2011).

                                        Opioid use disorder and incarceration are closely related with an estimated one third of
                                        heroin users or 200,000 individuals passing through U.S. penal facilities annually (Boutwell,
                                        Nijhawan, Zaller, & Rich, 2007). In the most recent national surveys of jail and prison
                                        inmates almost two thirds met criteria for a substance use disorder, and up to one quarter had
                                        opioid use disorder (Karberg & James, 2005; Mumola & Karberg, 2006). In New York, 83%
                                        of state prisoners are considered to be drug involved, and in 2008, 33% were incarcerated for
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                                        drug-related offenses (The Correctional Association of New York, 2011). Despite the high
                                        prevalence of substance use disorders among individuals in penal facilities, treatment
                                        options during incarceration are often limited (Fiscella, Pless, Meldrum, & Fiscella, 2004.)
                                        In the United States, few jail or prison inmates receive medication assisted treatment for
                                        opioid use disorder during incarceration. In 2008, fewer than 2000 prisoners, less than 0.1%
                                        of the total prison population, received buprenorphine or methadone (Larney et al., 2011).
                                        Though 28 state prison systems report offering methadone, over half limit treatment to select
                                        populations, such as pregnant women or individuals with chronic pain (Nunn et al., 2009).
                                        Major reasons for not offering medication during incarceration include strict federal laws
                                        governing administration of MAT, preference for drug free detoxification, as well as
                                        ideological opposition to MAT (Harris et al., 2012). In New York City, the major jail
                                        complex on Rikers Island has offered MAT since 1986, improving access to treatment and
                                        preventing disruptions in treatment for those already receiving community MAT (Tomasino,
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                                        Swanson, Nolan, & Shuman, 2001). By contrast, New York State prisons, which incarcerate
                                        individuals for felony convictions or sentences longer than a year, do not offer MAT. Failure
                                        to offer MAT during incarceration may affect long-term management of opioid use disorder
                                        following release, but this area is not well studied.

                                        We conducted a qualitative study investigating attitudes towards MAT among formerly
                                        incarcerated individuals with opioid use disorder. The overarching goal of the study was to


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                                        identify barriers to and facilitators of buprenorphine maintenance treatment following
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                                        release from incarceration. This secondary analysis focused on whether challenges with
                                        methadone maintenance treatment during incarceration affected subsequent attitudes toward
                                        MAT following release. Findings can inform policies regarding MAT at penal facilities.


                        2. Material and methods
                                        We conducted semi structured interviews with 21 formerly incarcerated individuals with
                                        opioid use disorder between November 2012 and December 2013. The study was approved
                                        by the Institutional Review Board of the Albert Einstein College of Medicine.

                        2.1 Participants
                                        Inclusion criteria were: 1) incarceration (≥ 1 day in jail or prison) in the previous 5 years; 2)
                                        opioid use disorder; 3) 18 years of age or older; and 4) fluent in English or Spanish.
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                                        Prior receipt of MAT was not an inclusion criterion, but we targeted sampling to include
                                        participants with diverse experiences with substance abuse treatment, including
                                        buprenorphine maintenance, methadone maintenance, and non-pharmacologic treatment.
                                        This sampling approach was to recruit participants with different potential attitudes toward
                                        MAT, because of the primary study objective.

                                        We recruited participants from a federally qualified health center (FQHC) and from a
                                        community based organization (CBO) that provides non-pharmacologic treatment for
                                        substance use disorders to formerly incarcerated individuals. The FQHC houses a
                                        buprenorphine treatment program that serves individuals with opioid use disorder and a
                                        “transitions clinic” that serves formerly incarcerated individuals (Cunningham et al., 2008;
                                        Fox et al., 2014). The study was described at a monthly buprenorphine provider meeting at
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                                        the FQHC and four physicians subsequently referred potential study subjects who had
                                        received buprenorphine treatment. Two physicians at the transitions clinic referred patients
                                        who had received methadone treatment. The CBO provides court-mandated treatment for
                                        substance use disorders to parolees following release from penal facilities, and allows
                                        participants to utilize buprenorphine or methadone if prescribed. The study was described to
                                        a group of substance use disorder counselors who then referred potential subjects from their
                                        non-pharmacologic treatment groups. Potential subjects were then screened for inclusion
                                        criteria.

                        2.2 Setting
                                        This study was conducted in the community but most participants had experience at Rikers
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                                        Island (New York City Jail) and New York State prisons, where MAT was and was not
                                        available, respectively. The availability of MAT at Rikers Island is through the KEEP
                                        program, which offers treatment for acute opioid withdrawal or maintenance treatment in
                                        some circumstances. Individuals with a sentence of less than one year and not on parole,
                                        facing a warrant or felony charge, would meet criteria for maintenance treatment, while
                                        individuals being transferred to prison would not. In 2008, 8000 individuals were tapered off
                                        methadone and 4000 individuals were continued on or initiated methadone maintenance
                                        treatment (Harris et al., 2012).


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                        2.3 Data Collection
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                                        A trained research assistant obtained informed consent and conducted face to face interviews
                                        lasting approximately one hour in a private room at the FQHC or CBO. All interviews were
                                        audiotaped and professionally transcribed; one was translated from Spanish to English prior
                                        to transcription. Participants were compensated with $20 and a $5 transit pass.

                        2.4 Interviews
                                        We developed an interview guide to elicit participants’ experiences with treatment for opioid
                                        use disorder, incarceration, community reentry, and attitudes toward methadone and
                                        buprenorphine. Participants also completed surveys eliciting socio-demographic
                                        information. The semi-structured interviews were guided by the participants; open ended
                                        questions were followed up with more specific probes based on their responses. For
                                        example, the question, “Can you tell me about the last time that you were incarcerated?” was
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                                        followed by more specific questions: “How about your drug use when you were in jail or
                                        prison? Can you tell me about any craving or withdrawal symptoms that you had? Can you
                                        tell me about the treatment for heroin addiction that was available while you were
                                        incarcerated (groups, methadone, Suboxone, etc.)?”

                        2.5 Data Analysis
                                        We analyzed the data in an iterative process using a Grounded Theory approach. Three
                                        investigators (AF, JM, JS) developed a coding scheme to categorize themes that emerged
                                        upon readings of the first five transcripts. This coding list was then applied to all 21
                                        transcripts in an iterative process with two investigators independently coding each one.
                                        Transcripts were then discussed by the entire research team and discrepancies in coding or
                                        revisions to the coding list were resolved by consensus. Agreed upon codes were entered
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                                        into N Vivo software, so that content from all transcripts could be sorted and extracted by
                                        code. For this analysis, codes relating to methadone, withdrawal during incarceration, and
                                        attitudes toward MAT following incarceration were retrieved and discussed by the research
                                        team in detail. Common themes related to these topics were further refined during discussion
                                        and were used to develop an explanatory model regarding incarceration and attitudes toward
                                        MAT.


                        3. Results
                                        The 21 participants were middle aged (median age: 49); all were African American or
                                        Hispanic, 18 were male, and 20 spoke English fluently. They had been incarcerated for a
                                        median of 16 years (IQR: 5.5-26) as adults, and prison or jail release was a median of 7.5
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                                        months (range: 10 days-4 years) prior to interview. Two participants were only incarcerated
                                        in jail and not prison. No female participants reported being pregnant during incarceration.
                                        The median number of years of heroin use was 24 (IQR: 15-30). All participants participated
                                        in non-pharmacologic treatment of substance use disorder during incarceration; six
                                        participants were receiving buprenorphine at the time of interviews, and three were receiving
                                        methadone (see Table 1).




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                        3.1 Methadone Treatment During Incarceration
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                                        Methadone was available within jail, but the majority of participants were eventually
                                        transferred to state prison where it was unavailable, which contributed to negative
                                        experiences with substance use disorder treatment during incarceration. The three main
                                        themes relating to methadone that emerged were: 1) rapid dose reduction during
                                        incarceration; 2) discontinuous and inadequate care during incarceration; and 3) post
                                        incarceration aversion to methadone. Each theme is discussed in detail below with direct
                                        quotes from participants that demonstrate key concepts.

                        3.2 Rapid dose reduction
                                        Participants receiving methadone at the time of their incarceration described that—as per
                                        protocol—they would receive methadone or buprenorphine at the local jail once evidence of
                                        community based care was established. If they remained in jail, methadone would be
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                                        continued until release, at which time their care would be transferred back to the community
                                        program. However, participants who had been sentenced for felonies were transferred to
                                        state prisons where MAT was unavailable, and they were withdrawn from methadone (or
                                        “detoxified”) by sequential dose reductions. Many participants expressed that the timescale
                                        of their dose reduction was dictated less by their individual medical needs, and more by their
                                        charges or administrative expediency.

                                        Participants typically reported having their methadone withdrawn over 14-30 days. Though
                                        one participant was satisfied with the dosage taper, most participants stressed that the
                                        reduction was more rapid than would occur in community treatment programs. One 49 year
                                        old male who chose to initiate buprenorphine (and not restart methadone) following release
                                        from incarceration described how methadone was rapidly withdrawn:
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                                            …it was amazing because [the detoxification process] was 14 days. It’s such a short
                                            amount of time.
                                        For others, the period of detoxification was even shorter without reasons given to
                                        participants. One 33 year old male, who chose to initiate buprenorphine instead of restarting
                                        methadone after release from incarceration, reported:

                                            In five days they took you out of [methadone]. In five days they took you out and I
                                            was [taking] 150mg. They put you in a room and then you going to be right there
                                            for a little [while] and that’s too fast.
                                        Some participants speculated about the protocols followed by the jail treatment program and
                                        suggested that it was too algorithmic and not specifically attuned to individual medical
                                        needs. One participant, a 54 year old male, reported that the dose he received in the
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                                        community was not continued during incarceration, which led to withdrawal symptoms.
                                        This participant stated that there was a cap on the dosage provided:
                                            First of all, if you’re on 200 mg of methadone, in jail, they give everyone 40[mg].
                                            [Then] they decrease your medication little by little until you get to 5. Once you’re
                                            at 5, you go in the next day to report in and they say no more. You have to be
                                            uncomfortable for 30 days, sometimes 60 days without being able to sleep...



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                                        The effect of the rapid dose reduction was that many participants reported severe withdrawal
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                                        symptoms. A 45 year old participant reported pain so intense that he contemplated suicide
                                        and required psychiatric care:

                                            They detoxed me and it was really cruel. I was going crazy. I wanted to hang
                                            myself and I couldn’t deal with it. Honestly, when I finished, I was in so much pain
                                            that I had to go to the psychiatric [ward] so I could try to get some type of pills.

                        3.3 Discontinuous and inadequate care
                                        Even when participants were able to continue methadone maintenance treatment, frequent
                                        treatment disruptions or delivery of non-evidence-based care led participants to believe that
                                        they were receiving inadequate care. These problems with methadone delivery included
                                        delays in initiating treatment, discontinuous dosing, and inattention to medical needs or
                                        withdrawal symptoms. These frequent disruptions often induced withdrawal symptoms,
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                                        which made treatment a hassle for some participants and unbearable for others.

                                        A 50 year old participant, who at the time of interview preferred abstinence to medication
                                        assisted treatment, described how disruptions to medical care began at the time of arrest with
                                        delays in initiating methadone treatment:

                                            It takes a week before you get the methadone. It’s like you take three days to go
                                            through the process and procedures to see the judge; that’s three days. Then when
                                            you get to [jail], you have to get a medical [exam] and then you see the doctor.
                                            Okay. So, now that’s five days already that you’ve gone without anything…and
                                            you’re sick [throughout this time].
                                        Treatment disruption continued during incarceration leading to discontinuous dosing. A 50
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                                        year old female participant, who did not re-initiate MAT following incarceration, reported
                                        that medical needs were often subordinate to procedural requirements:

                                            [Methadone administration] wasn’t consistent…They would put you on it but then
                                            if you had a court date, it reschedules, and then when you came back from court,
                                            you would miss days and things like that, and that’s in Rikers [jail].
                                        Participants also reported that their medical needs were not considered when sentencing or
                                        procedural decisions were made by security staff. A 47 year old male who was receiving
                                        methadone during incarceration explained how he was sentenced to an intensive exercise
                                        program, despite also experiencing methadone withdrawal symptoms:

                                            I was on 140mg [of methadone]… they made a decision that they were going to
                                            send me to High Impact, which is a 60 day [intensive exercise] program…I almost
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                                            died behind that shit…When I got there, the superintendent called me and said,
                                            ‘you’re not getting no more medication no more.’ So, [one day] I started marching,
                                            but I stood in the back. The platoon was marching straight down, I started marching
                                            straight up. I went up the stairs. And, right there, as soon as I knocked on the door
                                            where the director of the methadone program is. Right there I threw up.
                                        For other participants, inadequate care was embodied by inattention to withdrawal
                                        symptoms from non-medical prison staff, who failed to facilitate access to medical care.


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                                        When participants believed they were receiving inadequate care, one way to gain medical
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                                        attention was to over-report or feign medical symptoms that were more likely to be taken
                                        seriously than withdrawal symptoms.

                                            I’d be like: I’m sick, I’m sick. The only way I can get to the emergency room is if I
                                            say I got chest pain…if you just say I’m kicking off this meth[adone] they’re not
                                            going to.
                                        One consequence of this indifference to medical need was a sense of alienation. One
                                        participant, a 48 year old man who chose not to continue methadone or buprenorphine at the
                                        time of interview, reported:

                                            …you’ve got to have a real need where you’re off the wall climbing, before anyone
                                            asks your needs. They don’t want to give you nothing. Jail does not even want to
                                            feed you. They will not give you nothing.
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                        3.4 Post incarceration methadone aversion
                                        Following these experiences of rapid dose reductions and perceived inadequate care, many
                                        participants decided not to re-initiate methadone after community reentry. Participants
                                        reported that the painful withdrawal symptoms experienced while incarcerated deterred them
                                        from restarting methadone, and, in some cases, from initiating any MAT.

                                        One participant, who started buprenorphine instead of methadone following release from
                                        incarceration, reported that he had found the experience of withdrawal from methadone too
                                        painful:

                                            …and then my parole [officer] was the one that told me: ‘Yo, you was on
                                            methadone. You going back?’ I’m like no, I’m not going back to methadone. ‘So
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                                            what you want to do? Why don’t you want to use methadone again?’ Because it
                                            was the most painful time of my life to get off of that.
                                        Another participant who had also chosen buprenorphine instead of methadone reported that
                                        his strong aversion towards methadone was related to his withdrawal experiences in jail:

                                            Participant: I would never take methadone again. Hell no! I suffer[ed]. When it was
                                            time to kick methadone, I suffered like I was—I cried like a baby.
                                            Interviewer: So what made it time to kick methadone?
                                            Participant: I kicked the hard way. I got incarcerated.
                                        Another participant described how the inadequate care she received in jail contributed to her
                                        negative attitude toward methadone, which carried over past her last incarceration:
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                                            I stayed on methadone for three years and then I was incarcerated again and over
                                            the time of being incarcerated there, I managed to detox from it because there was
                                            no help to me there...
                                        Overall, several of the participants who had negative experiences with MAT were reluctant
                                        to re-engage in substance abuse treatment, and instead chose to proceed in recovery on their
                                        own. A common sentiment was that taking personal responsibility for their substance use



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                                        disorder was more important than seeking treatment, which was reflected by a 40 year old
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                                        participant:

                                            So this individual didn’t need no Suboxone; he didn’t need no methadone. He
                                            didn’t need no doctor. He didn’t need no treatment. All he needed was the
                                            willingness and the desire to stop using.

                        4. Discussion
                                        In our qualitative study of attitudes towards MAT among formerly incarcerated individuals
                                        with opioid use disorder, participants reported severe withdrawal symptoms from rapid dose
                                        reductions and disruption of methadone treatment during incarceration. These experiences
                                        contributed to an aversion to methadone, which adversely affected future treatment
                                        decisions. Though some participants chose to initiate buprenorphine treatment instead of
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                                        methadone following release from incarceration, others harbored negative attitudes in
                                        general to substance abuse treatment. These findings are provocative and suggest that lack of
                                        access to evidence-based treatment during incarceration may complicate efforts to maintain
                                        high- risk opioid users in effective treatment following release. Thus, current penal policy
                                        may dissuade individuals with opioid use disorder from utilizing MAT - the most efficacious
                                        treatments available.

                                        A recent trial, which randomized jail inmates to methadone continuation or forced tapered
                                        withdrawal from methadone during incarceration, found that participants assigned to forced
                                        tapered withdrawal were only half as likely to return to treatment within one month of
                                        release (Rich et al., 2015). Our participants’ vivid descriptions of opioid withdrawal
                                        symptoms and fear of future withdrawal, suggests a mechanism which could explain these
                                        striking findings. Even in a penal facility that provided MAT, withdrawal symptoms were
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                                        common, severe and may have negatively affected attitudes toward MAT. To our knowledge,
                                        only one other study, which focused on penal facilities that do not offer MAT, has described
                                        the high levels of opioid withdrawal symptoms during incarceration (Mitchell et al., 2009).
                                        Our study supports and extends their findings by suggesting that offering methadone in
                                        limited settings (e.g., jail but not prison), to select individuals (e.g., not parolees), or with
                                        frequent interruptions in treatment, may not be sufficient to engage and retain individuals
                                        with opioid use disorder in medical treatment once they reenter the community.

                                        Our findings regarding discontinuation of MAT are particularly concerning because the
                                        negative sequelae of opioid use disorder continue during incarceration. In the most recent
                                        published data from the Department of Corrections, in New York State prisons, 27 overdose
                                        deaths were documented between 1996 and 2005 and numerous other individuals required
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                                        hospitalization for overdose related reasons (New York State Department of Corrections,
                                        2006). Participants in our study also reported insomnia lasting for months and suicidal
                                        ideation. Similar findings were reported in another study, which suggested that “the trauma
                                        of imprisonment, coupled with severe opioid withdrawal, can also increase the risk of
                                        suicide in opioid dependent individuals with co-occurring disorders” (Bruce & Schleifer,
                                        2008). Withdrawal symptoms, such as severe diarrhea and vomiting, could contribute to
                                        spread of infectious diseases (Mitchell et al.,2009). Finally, the corruption and disorder that



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                                        accompanies illicit drug sales and use during incarceration could potentially be reduced by
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                                        offering more comprehensive treatment for substance use disorders during incarceration
                                        (Lee & Rich, 2012).

                                        Domestic and international data on treatment of opioid use disorders demonstrate that
                                        offering MAT throughout incarceration is feasible and effective. In Australia, methadone
                                        maintenance during incarceration has been associated with increased uptake of community
                                        opioid use disorder treatment, and lower mortality and HCV infection (Dolan et al., 2005).
                                        Similarly, studies from Puerto Rico and France, where buprenorphine treatment is offered
                                        during incarceration, demonstrate that treatment is both feasible and facilitates entry into
                                        community based treatment (Garcia et al., 2007;Marzo et al., 2009). Outcome data from the
                                        KEEP program at Rikers Island demonstrate that when adequate blocking dosages of
                                        methadone (> 60 mg) are provided to participants, there is a decrease in recidivism rates and
                                        increase in community treatment uptake post-incarceration (Bellin et al., 1999). International
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                                        treatment and ethical guidelines stress that MAT should be offered during incarceration
                                        (Milloy & Wood, 2015). In 2005, the World Health Organization added buprenorphine and
                                        methadone to the list of essential medicines (World Health Organization, United Nations
                                        Office on Drugs and Crime (UNODC) & Join United Nation Programme on HIV/AIDS
                                        (UNAIDS) 2004). In 2006, both UNODC and UNAIDS recommended that governments
                                        ensure access to MAT free of charge to prisoners with opioid use disorder whether or not it
                                        is available outside of prison (UNODC & UNAIDS, 2004). Thus, typical policies within the
                                        United States regarding continuity of MAT during incarceration are inconsistent with the
                                        scientific evidence base and ethical and international guidelines.

                                        Our data could also be used for quality improvement efforts within jails and prisons.
                                        Specifically in New York, offering methadone (maintenance treatment or tapering protocols)
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                                        in state prison would obviate the need for rapid dose reductions for those individuals who
                                        are convicted for felonies and will be transferred from jail to prison. At the time of
                                        incarceration, identifying individuals who receive methadone in the community, confirming
                                        methadone dosages, and rapidly reinitiating treatment presents a logistical challenge;
                                        however participants reported that security staff was inattentive to their needs, so better
                                        training and reporting protocols could have an impact. Additionally, because of the evidence
                                        supporting initiation of methadone or buprenorphine prior to release from prison, if
                                        methadone is not offered to individuals with long sentences, at least reinitiating MAT before
                                        release could improve rates of treatment entrance in the community (Rich et al., 2015;
                                        Gordon et al., 2014; Kinlock et al., 2007).

                                        Our study had several limitations. First, our participants were exclusively from New York
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                                        City and their experiences may not be representative of the experiences of inmates in other
                                        geographic locations. Second, most of our study sample was male, while substance use
                                        disorders are prevalent among female inmates who constitute the fastest growing inmate
                                        demographic in the United States (Proctor, 2012). Third, more of our participants were
                                        currently receiving buprenorphine treatment than methadone, leading to possible selection
                                        bias. Fourth, some of the challenges in methadone administration described in the study (e.g.
                                        discontinuous dosing) may also occur in community-based methadone maintenance
                                        treatment programs. Additionally, we did not adapt our interview guide during the study to


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                                         gauge the impact of methadone withdrawal during incarceration on future treatment
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                                         decisions in more detail. This theme emerged upon iterative readings of transcripts, but
                                         future studies exploring the link between incarceration and “methadone aversion” may
                                         provide additional details regarding treatment decisions.


                         5. Conclusion
                                         Medication assisted treatment is an evidence based therapy for the chronically relapsing
                                         condition of opioid use disorder. Failure to ensure prisoner access to opioid use disorder
                                         treatment leads to painful withdrawal experiences, and also deviates from domestic and
                                         international medical guidelines. Offering consistent medication assisted treatment in penal
                                         facilities, such as jail and prisons, could reduce suffering, and encourage individuals with
                                         opioid use disorder to remain engaged in evidence based treatment following release.
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                                                                                    Highlights
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                                           •     This qualitative study examined the barriers to evidence-based opioid agonist
                                                 treatment in formerly incarcerated individuals with opioid use disorder in the
                                                 Bronx, NY.

                                           •     Inadequate access to methadone maintenance treatment during incarceration was
                                                 perceived to be a barrier to opioid agonist treatment post-release.

                                           •     Subjects who received methadone prior to incarceration reported high levels of
                                                 withdrawal symptoms during incarceration, which led to subsequent aversion to
                                                 opioid agonist treatment post-release.

                                           •     Policies of American penal facilities may be discouraging individuals with
                                                 opioid use disorder from seeking opioid agonist treatment upon re-entry.
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                                                                                           Table 1

                      Sociodemographic Characteristics (N = 21)
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                          Characteristic                              N (%)
                          Age, median years (Interquartile range)   49 (46 – 52)
                          Male                                        17 (81)
                          Race/Ethnicity
                            Hispanic                                  13 (62)
                            Non-Hispanic Black                         8 (38)
                          Medicaid                                    19 (90)
                          High school diploma or equivalency          11 (52)
                          Ever injected drugs                         15 (71)

                          Current substance usea
                            Heroin                                     6 (29)
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                            Other opioid analgesics                    2 (10)
                            Cocaine                                    3 (14)

                          Lifetime substance useb
                            Heroin                                   21 (100)
                            Other opioid analgesics                    9 (43)
                            Cocaine                                   17 (81)
                          Treatment during incarceration
                            Methadone                                 13 (62)
                            Non-pharmacologic treatment               20 (95)

                            BuprenorphineC                             0 (0)

                            Any opioid addiction treatment           21 (100)

                      a
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                          within the previous 30 days
                      b
                          regular use within lifetime
                      C
                          8 participants received buprenorphine maintenance treatment following release from incarceration
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